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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY

     In re:                                                      Chapter 11

     LTL MANAGEMENT LLC,1                                        Case No. 21-30589 (MBK)

                   Debtor.
                                                                 Ref. Docket Nos. 924 & 925

                                         AFFIDAVIT OF SERVICE

 STATE OF NEW YORK  )
                    ) ss.:
 COUNTY OF NEW YORK )

 PANAGIOTA MANATAKIS, being duly sworn, deposes and says:

 1. I am employed as a Senior Case Manager by Epiq Corporate Restructuring, LLC, located at
    777 Third Avenue, New York, New York 10017. I am over the age of eighteen years and am
    not a party to the above-captioned action.

 2. On December 20, 2021, I caused to be served the following:

       a. “Fee Application Cover Sheet for the Period November 12, 2021 Through December 15,
          2021,” dated December 20, 2021 [Docket No. 924], and

       b. “Fee Application Cover Sheet for the Period October 14, 2021 Through October 31,
          2021,” dated December 20, 2021 [Docket No. 925]

 by causing true and correct copies to be:

          i.   enclosed securely in separate postage pre-paid envelopes and delivered via first class
               mail to those parties listed on the annexed Exhibit A, and

         ii.   delivered via electronic mail to those parties listed on the annexed Exhibit B.




 1
   The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
 Street, New Brunswick, New Jersey 08933.
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 3. All envelopes utilized in the service of the foregoing contained the following legend:
    “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
    ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

                                                                  /s/ Panagiota Manatakis
                                                                  Panagiota Manatakis

  Sworn to before me this
  21st day of December, 2021
  /s/ Cassandra Murray
  Notary Public, State of New York
  No. 01MU6220179
  Qualified in Queens County
  Commission Expires April 12, 2022
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                                EXHIBIT A
                                                LTL Management LLC
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Claim Name                               Address Information
ARNOLD & ITKIN LLP                       ATTN KURT B ARNOLD, CAJ BOATRIGHT, ROLAND CHRISTENSEN & JASON ITKIN 6009
                                         MEMORIAL DRIVE HOUSTON TX 77007
ASHCRAFT & GEREL, LLP                    ATTN MICHELLE PARFITT, JAMES F. GREEN & PATRICK LYONS 1825 K STREET, NW, STE
                                         70 WASHINGTON DC 20006
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                                         MARSHALL ST WINSTON-SALEM NC 27101
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                                         DONALD W. CLARKE, ESQ, MATTHEW I. W. BAKER, ESQ 110 ALLEN ROAD, STE 304


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Claim Name                               Address Information
GENOVA BURNS LLC                         BASKING RIDGE NJ 07920
GIMIGLIANO MAURIELLO & MALONEY           (COUNSEL TO TRAVELERS) ATTN STEPHEN V. GIMIGLIANO, JOHN MALONEY & ROBIN
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GREENBAUM, ROWE, SMITH & DAVIS LLP       (COUNSEL TO MOTLEY RICE LLC) ATTN: NANCY ISAACSON, ESQ 75 LIVINGSTON AVENUE
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                                         NJ 07932
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LAW OFFICES OF R. KEITH JOHNSON, P.A.   BUS. HWY. 16 STANLEY NC 28164
LEVIN PAPANTONIO RAFFERTY               ATTN: CHRISTOPHER TISI 316 S BAYLEN STREET, SUITE 600 PENSACOLA FL 325002
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LEVY KONIGSBERG LLP                     ATTN JEROME BLOCK & AUDREY RAPHAEL 605 THIRD AVE., 33RD FLOOR NEW YORK NY
                                        10158
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                                        STEPHEN T. ROBERTS 750 SEVENTH AVENUE NEW YORK NY 10019
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MOTLEY RICE LLC                         (COUNSEL TO PLAINTIFFS) ATTN: DANIEL R. LAPINSKI 210 LAKE DRIVE EAST, STE 101
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Claim Name                             Address Information
PENSION BENEFIT GUARANTY CORPORATION   DC 20005
PENSION BENEFIT GUARANTY CORPORATION   OFFICE OF THE GENERAL COUNSEL ATTN CAROLYN J LACHMAN 1200 K STREET, NW, STE
                                       340 WASHINGTON DC 20005-4026
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                                       SOUTHGATE PARKWAY MORRISTOWN NJ 07962
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                                       7 TIMES SQUARE NEW YORK NY 10036-6569
RAWLINGS & ASSOCIATES                  (COUNSEL TO BLUE CROSS BLUE SHIELD) ATTN: MARK D FISCHER, ROBERT C GRIFFITH 1
                                       EDEN PARKWAY LA GRANGE KY 40031
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                                       CENTRE 225 FIFTH AVENUE PITTSBURGH PA 15222
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                                       NEWPORT BEACH CA 92660
ROSS FELLER CASEY, LLP                 ATTN: BRIAN J. MCCORMICK, JR. ONE LIBERTY PLACE 1650 MARKET ST, 34TH FL
                                       PHILADELPHIA PA 19103
SAIBER LLC                             (COUNSEL TO KRISTIE LYNN DOYLE) ATTN: JOHN M AUGUST & MARC E WOLIN 18 COLUMBIA
                                       TURNPIKE, STE 200 FLORHAM PARK NJ 07932
SAVO, SCHALK, GILLESPIE, O'GRODNICK    & FISHER, P.A. (COUNSEL TO JEANNE STEPHENSON) ATTN: CHARLES S. SCHALK, JOHN F.
                                       BRACAGLIA JR. 56 EAST MAIN ST, STE 301 SOMERVILLE NJ 08876
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                                       ANDREW T. FRANKEL, KATHRINE A. MCLENDON & JONATHAN T. MENITOVE 425 LEXINGTON
                                       AVENUE NEW YORK NY 10017
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                                       10017
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                                       62025
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                                       COLTSGATE RD, SUITE 210 CHARLOTTE NC 28211
THE SHAPIRO LAW FIRM                   (COUNSEL TO EMPLOYERS INS COMPANY OF WAUSAU & NATIONAL CASUALTY COMPANY) ATTN:
                                       JANET A. SHAPIRO 325 N. MAPLE DRIVE, #15186 BEVERLY HILLS CA 90209
TOGUT, SEGAL & SEGAL LLP               (COUNSEL TO ROGER FRANKEL) ATTN: ALBERT TOGUT, FRANK OSWALD, BRIAN SHAUGHNESSY
                                       ONE PENN PLAZA, SUITE 3335 NEW YORK NY 10119
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TRIF & MODUGNO LLC                     (COUNSEL TO ATLANTA INTERNATIONAL COMPANY, ETC.) ATTN LOUIS A. MODUGNO 89
                                       HEADQUARTERS PLAZA NORTH TOWER, SUITE 1201 MORRISTOWN NJ 07960
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                                       STREET SALISBURY NC 28144
WARD AND SMITH, P.A.                   ATTN: LANCE P. MARTIN, PAUL A. FANNING, NORMAN J. LEONARD POST OFFICE BOX 2020
                                       ASHEVILLE NC 28802-2020


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WEITZ & LUXENBERG, P.C.               ATTN DANNY KRAFT, LISA N. BUSCH, JUSTINE DELANEY & PERRY WEITZ 700 BROADWAY
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